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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   NANCY SHER, et al.,

               Plaintiffs,

   v.                                  Case No.    8:08-cv-889-T-33TGW


   RAYTHEON COMPANY,

             Defendant.
   ___________________________/

                                   ORDER

         This matter comes before the Court pursuant to the

   parties’ joint motion for entry of proposed order modifying

   class-certification deadlines in the case schedule (Doc. #

   91), which was filed on March 10, 2009. For good cause shown,

   the motion is granted.

         Accordingly, it is hereby

         ORDERED, ADJUDGED, and DECREED:

   (1)   The joint motion for entry of proposed order modifying

         class-certification deadlines in the case schedule (Doc.

         # 91) is GRANTED to the extent consistent with this

         order.

   (2)   Defendant may take the depositions of plaintiffs’ experts

         on the issue of class certification up to and including

         April 10, 2009.       Defendant’s response to plaintiffs’

         motion for class certification is due on or before May 1,
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         2009. Plaintiffs may take the depositions of defendant’s

         experts on class certification up to and including June

         17, 2009.

   (3)   Plaintiffs may submit rebuttal expert reports on merit

         issues on or before June 11, 2010.

         DONE and ORDERED in Chambers in Tampa, Florida, this 17th

   day of March 2009.




   Copies:

   All Counsel of Record




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